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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                            No. 23-cr-10159

           v.                                        ORDER APPOINTING
                                                     CLASSIFIED INFORMATION
 JACK DOUGLAS TEIXEIRA,                              SECURITY OFFICER

                 Defendant.




                                            ORDER

          The Court has been made aware that this case will involve the use and discovery of

classified information. Federal law explicitly provides that federal courts must have security

procedures for the handling of classified information. See Classified Information Procedures Act,

Pub. L. 96-456 § 9, 94 Stat. 2025 (1980). Pursuant to Paragraph 2 of the Revised Security

Procedures Established Pursuant to Pub L. 96-456, 94 Stat. 2025, by the Chief Justice of the United

States for the Protection of Classified Information, the Court HEREBY APPOINTS Harry J.

Rucker, Security Specialist, as the Classified Information Security Officer in the above-captioned

matter.

          The Court FURTHER APPOINTS Daniel O. Hartenstine, Daniella M. Medel, Matthew W.

Mullery, and Winfield S. Slade as Alternate Court Security Officers in the above-captioned matter.



          IT IS SO ORDERED.


                                                     _________________________
                                                     Hon. Indira Talwani
                                                     United States District Judge
Dated: ____________
